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  15

  16                         UNITED STATES DISTRICT COURT
  17                       SOUTHERN DISTRICT OF CALIFORNIA
  18   KATHRYN KAILIKOLE, an                  Case No: 3:18-cv-02877-AJB-MSB
       individual,
  19                                          [Previously San Diego Superior Court
  20                        Plaintiff,        Case No. 37-2018-00058754-CU-WT-NC
                                              before the Honorable Ronald F. Frazier]
  21          v.
                                              JOINT DISCOVERY PLAN
  22   PALOMAR COMMUNITY                      PURSUANT TO COURT’S ORDER
       COLLEGE DISTRICT, a                    RE CASE MANAGEMENT
  23                                          CONFERENCE
       governmental entity; and DOES 1
  24   through 25, inclusive,                 [FRCP RULE 26(f)]
  25                        Defendants.       State Complaint: November 20, 2018
  26
                                              Removed: December 26, 2018

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                                                           JOINT DISCOVERY PLAN
                                                    CASE NO.: 3:18-CV-02877-AJB-MSB
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   1           In accordance with Federal Rule of Civil Procedure 26(f), and the Court’s
   2   Order, Plaintiff Kathryn Kailikole (“Kailikole” or “Plaintiff”) and Defendant
   3   Palomar Community College District, hereby file this Joint Rule 26(f) Discovery
   4   Plan.
   5    I.     ITEMS IDENTIFIED IN FED. R. CIV. P. 26(F)(3)
   6           A.     INITIAL DISCLOSURES
   7           The Parties will serve initial disclosures on June 20, 2019, pursuant to the
   8   Court’ Order. The Parties do not believe any changes should be made regarding the
   9   timing, form, or requirements for disclosures under Rule 26(a).
  10           B.     DISCOVERY
  11           No discovery has occurred yet in this matter. The Parties agree that there is
  12   no need for discovery to be conducted in phases nor should discovery be limited to
  13   certain discoverable issues except that expert disclosures and discovery should be
  14   governed by Rule 26(a)(2).
  15           1. Plaintiff’s Discovery:
  16           Plaintiff expects that discovery will be necessary regarding all of the claims,
  17   allegations, facts and damages alleged in the First Amended Complaint and all
  18   defenses alleged by Defendant, including but not limited, the discovery of all
  19   documents, communications, and facts related to Plaintiff’s job performance, all
  20   investigations conducted by the District related to Plaintiff, Professor Nakajima,
  21   Professor Gerwig and Dr. Finkenthal, the decisions to place Plaintiff on paid leave,
  22   non-renew her contract and terminate her, Defendant’s policies regarding
  23   discrimination, harassment, retaliation and reasonable accommodations for
  24   disabled employees and Defendant’s knowledge of Plaintiff’s medical conditions
  25   as well as any facts known by any and all current and former employees, officers
  26   and/or board members of Defendant, as well as any other witnesses with
  27   information relevant to any of the above subjects or in any way reasonably
  28   calculated to lead to admissible evidence on any issue in controversy. Plaintiff
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   1   intends to seek this information through all available means, including but not
   2   limited to, requests for admission, requests for production of documents and things,
   3   interrogatories, third party subpoenas, and depositions of party and third party
   4   witnesses. Plaintiff reserves the right to supplement this list of subjects on which
   5   discovery may be needed. If the Parties do not reach a resolution at the Early
   6   Neutral Evaluation Conference, Plaintiff will oppose any request by Defendant to
   7   stay discovery until the anti-SLAPP motion is heard.
   8          2.      Defendant’s Discovery:
   9          If the Parties do not reach a resolution at the Early Neutral Evaluation
  10   Conference, Defendant will request that the current stay on Discovery be continued
  11   until its anti-SLAPP motion is decided. Defendant expects that discovery may be
  12   needed regarding all matters in controversy, including but not limited to, facts and
  13   circumstances giving rise to the allegations in the Complaint, verbal and written
  14   complaints Plaintiff made to District supervisors, Plaintiff’s medical conditions,
  15   Plaintiff’s communications with Dr. Finkenthal and other District employees
  16   regarding Professors Nakajima and Gerwig, Plaintiff’s communications with
  17   Professors Nakajima and Gerwig, facts and circumstances supporting Defendant’s
  18   defenses to and denial of Plaintiff’s claims, and Plaintiff’s alleged damages and
  19   efforts to mitigate damages. Defendant reserves the right to supplement this list of
  20   subjects on which discovery may be needed.
  21          C.      PRESERVATION OF EVIDENCE AND FORM OF
  22                  PRODUCTION
  23          The Parties have discussed preservation of records and evidence pertaining
  24   to the issues in this case and there are no issues of disagreement at this time.
  25   Defendant intends to seek electronic production of e-mails and related documents
  26   that Plaintiff may have forwarded from her work e-mail to her personal e-mail.
  27   Plaintiff will conduct a diligent search and reasonable inquiry into whether these e-
  28   mails exist and does not anticipate any problems in complying if such e-mails do
                                                2
                                                               JOINT DISCOVERY PLAN
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   1   exist. The Parties agree that all ESI will be produced in native format to the extent
   2   practicable. The Parties do not anticipate any issues related to metadata. As part of
   3   the discovery process in this case, the Parties anticipate further meeting and
   4   conferring on electronic discovery issues as they arise, which may include:
   5                The nature of Defendant’s ESI storage systems, including the
   6                  computer software and hardware system configuration, location,
   7                  number, and type of storage devices, the operating and application
   8                  software, and the backup, retention, storage, and archival procedures
   9                  regarding ESI that is relevant to the case;
  10                The efforts at preservation of ESI relevant to the case;
  11                Search terms, search protocols and methods or procedures for
  12                  privilege review and protection against inadvertent disclosure of
  13                  privileged ESI;
  14                Methods to minimize delay and expense of ESI through de-
  15                  duplication, sampling or other means; and
  16                Manner and format of production.
  17          D.      CLAIMS OF PRIVILEGE
  18          At this point, it is premature for the Parties to determine all unusual issues
  19   relating to privilege or of protection of trial-preparation material will arise in this
  20   case. To the extent the Parties were able to identify issues during the meet and
  21   confer process, Defendant may redact the names of students not involved in the
  22   litigation, where they appear in investigative reports. Plaintiff does not oppose such
  23   redactions so long as all documents may be otherwise submitted in their entirety
  24   and that Defendant does not contend that the redactions affect whether the
  25   documents are admissible or inadmissible in evidence and that admissibility should
  26   be considered to the same extent as if the redactions had not been made.
  27   ///
  28   ///
                                                   3
                                                                 JOINT DISCOVERY PLAN
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   1                  1.   E-mail communications between Dr. Norman and Mr. Love
   2          Plaintiff will request discovery of e-mail communications made between
   3   Lisa Norman and Jeffrey Love. Plaintiff disputes that any such communications
   4   are in any way privileged and will move to compel the production of all such
   5   communications if they are withheld because, among other reasons, Mr. Love was
   6   retained by the Defendant to conduct a purportedly independent workplace
   7   investigations and not in anticipation of litigation or to provide legal advice, Mr.
   8   Love’s investigative report was used as a purported basis for terminating Plaintiff’s
   9   employment and Mr. Love submitted a sworn declaration in support of Defendant’s
  10   special motion to strike, in which he attached his alleged investigative report and
  11   all of his alleged findings, including the documents he purports to have relied on,
  12   and also testified regarding the contents of his report. Thus, Plaintiff contends that
  13   at no time was Mr. Love ever acting as an attorney for Defendant and further
  14   contends that, even if any of Mr. Love’s communications could arguably be
  15   privileged (which they are not), any such privilege was waived under Evidence
  16   Code section 502 and other applicable law when Defendant disclosed Love’s report
  17   as a purported basis for terminating Plaintiff then submitted Mr. Love’s report and
  18   his testimony in support of Defendant’s special motion to strike.
  19          Defendant contends that Mr. Love was outside counsel and reserves the right
  20   to object to the discovery of all such e-mail communications on attorney-client
  21   privilege grounds. Defendant further contends that Mr. Love was retained as the
  22   District’s outside attorney to investigate Ms. Kailikole’s claims and to make a
  23   determination regarding 1) whether professors Nakajima and Gerwig posted or
  24   allowed objectionable postings to be displayed in classrooms and 2) whether
  25   Plaintiff and Dr. Finkenthal leaked confidential District information. Defendant
  26   acknowledges that it relies on Mr. Love’s investigation reports, and therefore does
  27   not assert the privilege as to those reports. However, Defendant contends that does
  28   not mean attorney-client communications between Mr. Love and Dr. Norman are
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   1   now automatically discoverable. Defendant contends that it is well settled that
   2   courts should not issue blanket nullifications of the privilege, but should make
   3   findings on a document-by-document basis. Wellpoint Health Networks v.
   4   Superiour Court (1997) 59 Cal.App.4th 110, 122. The parties have not yet
   5   conducted discovery in this matter. Accordingly, at this time Defendant simply
   6   reserves its right to assert the privilege as to communications between Mr. Love
   7   and Dr. Norman, and will evaluate whether the privilege applies when it is
   8   appropriate. Plaintiff reserves her right to dispute that any privilege applies and to
   9   seek to compel production of communications between Mr. Love and Dr. Norman.
  10          The Parties agree that the procedure used when claims of privilege arise will
  11   not vary from the procedures set forth in the Federal Rules of Civil Procedure.
  12          E.      CHANGES TO DISCOVERY RULES
  13          The Parties do not anticipate any changes to the discovery rules.
  14          F.      OTHER ORDERS
  15          The Parties do not propose that the Court issue any other orders under Rules
  16   26 or 16(b) and (c) of the Federal Rules of Civil Procedure at this time. Also, at
  17   this time, the Parties do not anticipate a protective order to be sought.
  18   II.    OTHER ITEMS IDENTIFIED IN COURT’S ORDER
  19          A.      SERVICE
  20          Plaintiff asserts that she may want to serve additional parties in this matter.
  21   The Parties agree that the deadline to serve additional parties shall be January 20,
  22   2020 except by order of the Court.
  23          B.      AMENDMENT OF PLEADINGS
  24          The Parties agree that the deadline for amendment of the pleadings by
  25   Plaintiff shall be January 20, 2020 and the deadline for amendment of the pleadings
  26   by Defendant shall be January 20, 2020. The parties each reserve their respective
  27   rights to oppose any motion for leave to amend the pleadings.
  28   ///
                                                  5
                                                                 JOINT DISCOVERY PLAN
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   1          C.      RELATED CASES
   2          The Parties are not aware of any related cases or proceedings pending before
   3   another judge of this Court, or before another court or administrative body.
   4   Dated: June 20, 2019                   DWIN LEGAL, APC
   5

   6
                                            By: /s/ Evan Dwin
                                               Evan Dwin
   7
                                               Attorneys for Plaintiff
                                               Kathryn Kailikole
   8
       Dated: June 20, 2019                   FISHER & PHILLIPS LLP
   9
  10                                       By: /s/ Kevonna J. Ahmad
                                               Regina A. Petty
  11                                           Adam F. Sloustcher
  12                                           Kevonna J. Ahmad
                                               Attorneys for Defendant
  13                                           Palomar Community College District
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                                                              JOINT DISCOVERY PLAN
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   1                            CERTIFICATE OF SERVICE
   2         I, the undersigned, am employed in the County of San Diego, State of
       California. I am over the age of 18 and not a party to the within action; am
   3   employed with the law offices of Fisher & Phillips LLP and my business address
       is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
   4
               On June 20, 2019 I served the foregoing document entitled JOINT
   5   DISCOVERY PLAN PURSUANT TO COURT’S ORDER RE CASE
       MANAGEMENT CONFERENCE on all the appearing and/or interested parties
   6   in this action by placing      the original    a true copy thereof enclosed in sealed
       envelope(s) addressed as follows:
   7
        Evan Dwin (SBN 241027)                       Telephone: (760) 536-6471
   8    DWIN LEGAL, APC                              Facsimile: (760) 585-4649
        2121 Palomar Airport Road, Suite 170 E-Mail: EDwin@DwinLegal.com
   9    Carlsbad, California 92011                   Attorneys for Plaintiff
                                                     Kathryn Kailikole
  10    [by MAIL] - I am readily familiar with the firm's practice of collection and
           processing correspondence for mailing. Under that practice it would be
  11       deposited with the U.S. Postal Service on that same day with postage thereon
           fully prepaid at San Diego, California in the ordinary course of business. I am
  12       aware that on motion of the party served, service is presumed invalid if postage
           cancellation date or postage meter date is more than one day after date of deposit
  13       for mailing this affidavit.
        [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
  14       described via the United States District Court’s Electronic Filing Program on the
           designated recipients via electronic transmission through the CM/ECF system
  15       on the Court’s website. The Court’s CM/ECF system will generate a Notice of
           Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
  16       users in the case. The NEF will constitute service of the document(s).
           Registration as a CM/ECF user constitutes consent to electronic service through
  17       the court’s transmission facilities.
        [by OVERNIGHT SERVICE] - I am readily familiar with the firm’s practice
  18       for collection and processing of correspondence for overnight delivery. Under
           that practice such correspondence will be deposited at a facility or pick-up box
  19       regularly maintained by the overnight service for receipt on the same day in the
           ordinary course of business with delivery fees paid or provided for in accordance
  20       with ordinary business practices.
        [by PERSONAL SERVICE] - I caused to be delivered by messenger such
  21       envelope(s) by hand to the office of the addressee(s). Such messenger is over the
           age of eighteen years and not a party to the within action.
  22
             I declare that I am employed in the office of a member of the bar of this
  23   Court at whose direction the service was made.
  24          Executed June 20, 2019 at San Diego, California.
  25     Angela D. Mastin                      By:
  26

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                                                 1
                                      CERTIFICATE OF SERVICE
       FPDOCS 35586559.1
